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EXHIBIT C

 
 

 

  

 

Case 4:04-cv-02688-JEJ

 

J_.Document 198-4
William Buckingham 1/3/2

   

 
 
    

Fuse 09/21/05 Page 2

bf 15

 

One, I understood that intelligent design
said that life and hits things were created or

intelligent being. Is that your understanding?

onfused because I had ny
t because I just glanced!
But let me just tell
was under the impression
some ideas that it

11 me whether you

    
 
 
 
 

t designer, some

ould soon take a break?

 

 

 

 

 

 

 

 

 

 

 

intelligent design
expresses an order as dpposed to the theory of
out chance.

elligent design teach
tured object is the
aping of matter?

 
 
 
 

 

But my question was, does intelligent design

manufactured object is

the result of intelligent shaping of matter?

I think there's an

order in intelligent design that's not in

not it's shaping, I don't

Does intelligent design teach that life itself

would want presented to
High School?

MR. GILLEN: Obj¢ction, calls for

students told that life

itself owes its origin to a master intellect?

__. SHEET 16 PAGE 61 _—. PAGE 63
1 00060 1
2 1 intelligent design stands for? What does it 2 t dictate. “J
3 2 teach? 3 2 Q. I'm still-- Maybe I'mq
4 3 A. Other than what I expressed, that's-- 4 3 own idea of what it meay
5 4 Scientists, a lot of scientists-- Don't ask mef™| 5 4 at Of Pandas and People|
6 5 the names. I can't tell you where it came fromam| 6 5 you a few things that I
7 6 A lot of scientists believe that back through 7 6 that intelligent design
8 7 time, something, molecules, amoeba, whatever, 8 ] advanced, and you can te
9 8 evolved into the complexities of life we have 9 8 understand me to be cortect or not.
10 9 now. 10 9
11 10 Q. That's the theory of intelligent design? 11 10
12 11 A. You asked me my understanding of it. I'm not ajpijl2 11 begun by some intellig
13 12 scientist. I can't go into detail and debate 13 12
14 13 you on it. 14 13, A. No.
15 14 0. I don't want you to debate me on it. I don't 15 14 Q. Do you have any understhnding like that?
16 15 want you to debate anybody on it. 16 1% A. No. Do you suppose we fF
uy 16 A. It's a scientific theory. 1] 16 Q. Sure.
18 17 Q. How is it different from evolution to your 13 17 (Recess taken)
19 18 understanding? 19 18 BY MR. HARVEY:
20 19 A. I don't understand the question. 20 19 Q. Mr. Buckingham, does i
21 20 Q. Do you understand the theory of intelligent 21 20 that life like a ami
22 21 design to be different from the theory of 22 21 result of intelligent
23 22 evolution? 23 22 A. I think one-- I think
24 23 A. Yes. 24 23
25 24 Q, You do? 25 24 evolution which talks
26 25 A. Yes. 26 25 Q. It expresses an order Ios said?
saan ea
___ PAGE 62 ._ PAGE 64
1 00061 1 00063
2 1 Q. dust to be clear, we're using theory now in the] 2 1 A. An orderly process to things.
3 2 same way that you defined it earlier in the 3 2 Q. Who or what directed that order?
4 3 deposition. 4 3A. 1 don't know.
5 4 A. Okay. 5 4 Q.
6 5 Q. dust refresh my recollection, how did you use 6 5 teach that life like a
7 6 the term theory? 7 6
8 7 A. Can you tell me how I defined it? 8 7 A. I don't know about shaping.
3 8 Q. No way she's going to be able to go back. 9 8
10 9 A. I don't remember what I said. 10 9 evolution. Whether or
11 10 Q. I think you said something about something 11 10 know.
12 il that's not proven. 12 11 Q.
13 12 MR. GILLEN: Something scientifically 13 12 owes its origin to a master intellect?
14 13 debatable is what my notes reflect, Stephen. 14 13. A. A master intellect?
15 4 As I'll stand by that. 15 14 Q. Yes.
16 15 BY MR. HARVEY: 16 15 A. I won't say that, no.
17 16 Q. So when we say-- I'm using it the way you used} 17 16 Q. Is that something you
18 17 it. So my question is, how is intelligent 18 17 the students at Dover
19 18 design different from evolution, if at all? 19 18
20 19 A. They're different theories in that some 20 19 speculation.
21 20 scientists believe that-- We're going back ovexp {21 20 A. A master intellect?
22 21 the same ground, I think. Some scientists 22 21 BY MR. HARVEY:
23 22 believe that it could be tiny amoeba again -- 23 22 Q. Yes. Would you want fhe
24 23 I'll go back there -- generated a process wherg  \24 23
25 24 the complexities of life occurred, not as randpmfj j25 24 A. No.
26 25 I'll say as what the process of evolution woulG ff |26 25 Q. Would you want the sthdents told that

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_ SHEET 17 PAGE 65 .-— PAGE 67
1 00064 1 00066
2 1 intelligent design locates the origins of new 2 1 please.
3 2 organisms in an immaterial cause, in a 3 BY MR. HARVEY:
4 3 blueprint, a plan, a pattern devised by an 4 Q. Sure. Would you want the students taught that
5 4 intelligent agent? 5 similarities between organisms are explained as
6 5 MR. GILLEN: Objection, calls for 6 being due to a common designer?
7 6 speculation. 7 A. No.
8 7 A. I don't even understand what that means. 8 Q. Where did the school dibtrict board of directors
9 8 BY MR. HARVEY: 9 get the idea to include] intelligent design in
10 9 Q. Do you want me to read-- 10 the curriculum?
ll 10 A. Is there a way to simplify the question? 11 MR. GILLEN: Objection to the extent the
12 11 Q. Okay, sure. Would you want the students taught § {12 question calls him to ahswer for other board
3 12 that intelligent design teaches that new 13 members,
14 13 organisms were caused by or created in 14 A, I first heard of it from the board president,
15 14 accordance with a plan devised by an intelligent§ j15 Alan Bonsell.
16 15 agent? 16 BY MR. HARVEY: ~~
17 16 A. = No. 17 Q. When was that? —
18 17 Q. Does intelligent design teach that various forms /18 A. When I first came on the board. That would have
19 18 of life began abruptly through an intelligent 19 been approximately two jyears ago.
20 19 agency? 20 Q. What did he say about yt then?
21 20 MR. GILLEN: Objection, foundation. 21 A. I can't give you a quote on what he said. I
22 21 A. Could you repeat the question. 22 just know it was mentiqned.
23 22 BY MR. HARVEY: 23 Q. When is the next time you heard of it?
24 23 Q. Does intelligent design teach that the various §|24 A. I don't know.
25 24 forms of life began abruptly through an 2 Q. Well, we know that it nade its way into the
26 25 intelligent agency? 26 board resolution of October 18, correct?
__.. PAGE 66 — 68
1 00065
2 1 A. I don't believe so. 2 A. Yes.
3 2 Q. Was that something you would want the students 3 2 Q. Do you know how it got|its way into the board
4 3 taught? 4 3 resolution? Where did} it first come from?
5 4 MR. GILLEN: Objection, calls for 5 4 A. First came-- It was mentioned to me by Alan
6 5 speculation. 6 5 Bonsell.
1 6 A, That's not up to me. I don't think so, no. 7 6 Q. Then after that, was it ever mentioned again?
8 7 BY MR. HARVEY: 8 7 AQ I don't know that it was.
9 8 Q. But personally you wouldn't want that, right? 9 8 Q. Well, you were on the [curriculum committee in
10 9 A. No. 10 5 the summer of 2004?
11 10 Q. I mean, in other words, I'm correct? ll 10 A. Yes.
12 11 A. Yes. 12 11 Q. And the curriculum committee looked at it,
23 12 Q. Does intelligent design teach that similarities (13 12 didn't they?
14 13 between organisms are explained because there 14 13 A.  Iwon't say the curridulum committee did. I
15 14 was a common designer as opposed to a common 15 14 did.
16 15 ancestor? 16 15 Q. What did you do to logk at it?
17 16 A. I don't believe it says that. 17 16 A. 1 researched through-} I looked it up ona
18 17 Q. Would you want students taught that similarities (18 17 computer.
19 18 between organisms are explained as being due to 9 {19 18 Q. Where did you look?
20 19 a common designer? 20 19 A. I probably just put intelligent design, and it
21 20 MR. GILLEN: Objection, hypothetical and 21 20 went where it took me} I couldn't tell you
22 21 calls for speculation. 22 21 where that was.
23 22 A. So I'm supposed to answer that? 23 22 Q. Do you remember what Websites you went to?
24 23 MR. GILLEN: Yes. 24 23 OA. No.
25 24 MR. HARVEY: Yes. 25 24 Q. Did you end up talking to anybody in person
26 25 A. JI hate to-- Can you say it one more time, J 26 25 either -- I mean live over the phone or in
Cc
 

 

 

 

 

   
  
 
   
     
 

 

 

 
    
    
    
  
   
  
   
 
   
   
 
 

Case 4:04-cv-02688-4F J. Dog Tene t3 dee 09/21/05 Page 4 of 15
_. SHEET 23 PAGE 89 —-- PAGE 91
1 00088 1 00090
2 1 versions of that document. One has handwritten fj 2 1 A. No,
3 2 notes. One does not. Page 35 does not have the] 3 2 Q. Do you know how many meetings there were? Was
4 3 handwritten notes. Did you see either of them 4 3 it two, three, or four or more?
5 4 just for Stephen's benefit? 5 4 A. At least four. The last} one-- Well, there was
6 5 A. It's possible. To tell you I remember specific J} 6 5 at least four.
7 6 paper out of all the papers we see, you know, it} 7 6 Q. Was it fair to say that \the staff didn't want a
8 7 wouldn't be fair to me or you. 8 7 reference to intelligent design?
9 8 BY MR. HARVEY: 9 8 A. What staff?
10 9 Q. So you don't remember seeing this? 10 9 Q. The faculty I mean.
il 10 A. No. il 10 A. That's true.
12 11 Q. Well, at the top it says, recommendations, and ff |12 11 Q. And that you did want alreference to intelligent
3 1 it says, students-- It has a recommendation 13 12 design?
14 13 apparently from the administration and staff, 14 13 A. That's true.
15 14 one from Mr. Bonsell, one from Casey Brown, and {15 14 Q. Do you remember what Ms| Brown's view was?
16 15 one from you. 16 15 A. I think she was opposed|to it.
i] 16 A. Okay. ii 16 Q. What about Mr. Bonsell,|/did he want a reference
18 17 Q. And they all differ slightly. Do you see that? § /18 17 to intelligent design of not?
19 18 A. Yes, 19 18 A. He did-- There was a point where he wasn't
20 19 Q. I want to know if that's your recollection of 20 19 sure, and there was a ppint where he did. I'm
21 20 what all your various views were. 21 20 not sure where we are here.
22 21. A. That's my recollection. I just didn't know if 19/22 iQ. Now, so at least at thib point as of October 7th
23 22 saw this paper before. 23 22 you were the one who wanted intelligent design
24 23. Q. Okay, fine. So you wanted-- Under Number 4, 24 23 included in the revised] curriculum?
25 24 you wanted something that would say students 25 24 A. Iwas one of the people| that did. I wasn't the
26 25 will be made aware of other theories of 125 25 only one.
—— PAGE 90 —— PAGE 92
1 00089 1 00091
2 1 evolution including, but not limited to, 2 1 9. Who were the others?
3 2 intelligent design, right? 3 2 A. Sheila Harkins, Janie (leaver, Heather Geesey.
4 3 A. True. 4 3 Was Heather there then] I'm not sure if Heather
5 4 Q. Mr. Bonsell according to the handwritten comment§) 5 4 Geesey was on the board then. 1 know she wanted
6 5 that's been written in there wanted the same 6 5 it.
7 6 thing? 7 6 Q. I believe she was,
8 7 MR. GILLEN: Objection to the surmise as tof} 8 7 A. Okay, she wanted it. Angie Yingling indicated
9 8 what that handwritten comment says. 9 8 she did. Noel Wenrich|wanted it. I guess
10 g MR. HARVEY: Fair enough. 10 g that's about it.
il 10 BY MR. HARVEY: li 10 Q. What about Alan Bonsel}?
12 11 Q. Did Mr, Bonsell want the same thing as you? 12 11 A. Alan wanted it.
43 12 A. 1 don't know. 13 12 Q.  $o that's everybody buf the Browns wanted it?
14 13.0. Well, did you attend curriculum meetings with i4 13. A. ~— I guess so.
15 14 Mr. Bonsell? 15 14 Q. You just told me that'b at the time of October
16 15 AL Yes. 16 15 the 18th. Do I understand that correctly?
17 16 Q. How many did you attend? 17 16 A. No. We're talking abopt October the 7th, aren't
18 17 A. Several. 18 i7 we?
19 18 Q. Tell me when those meetings were to the best of 9/19 18 Q. Yes, good clarification. Had the matter been
20 19 your recollection. 20 19 discussed with the entlire board as of October 7?
21 20 A. I couldn't come close. 21 20 A. I'm sure it had.
22 21 0. Were the faculty and staff represented at those fj (22 21 0. In other words, how dild you know all these
23 22 meetings? 23 22 people wanted it?
24 23, A. Yes. 24 23 A. ‘I'm sure it was talked about at the board
25 24 Q. Were the faculty and staff represented at all off |25 24 meetings.
26 25 those meetings? _4 26 25 Q. Do you remember when?} Prior to October the
a

 

 

 

 

 

  
 

 

 
 

 

 

 

 

 

 

 

 

 

 

Case 4:04-cv-02688-J&1,  ROGIMen AAR /3/5b89 09/21/05 Page 5 pf 15
___ SHEET 27 PAGE 105 __ PAGE 107
1 90104 1 00106
2 1 A. With limitations and by approval of the board. 2 1 Q. Are you a very knowledgeable lay person?
3 2 BY MR. HARVEY: 3 2 A. With regards to what?
4 3 Q. Why did you want them to teach any theories that 3 Q. Science.
5 4 they thought plausible? 5 4 A. Depends on what very knowledgeable means.
6 5 MR. GILLEN: Objection to the 6 5 Q. Do you subscribe to any} scientific publications?
7 6 characterization of his testimony. 7 6 A. No.
8 7 A. I didn't get your question. I'm sorry. 8 7 Q. Have you ever?
9 8 BY MR. HARVEY: 9 8 A. No.
10 9 Q. Why did you want the teachers to be able to 10 9 Q. Do you follow science developments?
il 10 teach any theories they thought plausible? ll 10 A. Yes.
12 11 MR. GILLEN: Same objection. 12 11 Q. Where?
13 12 A. In an effort to round out the scientific 2B 12 A. Discovery channel, things like that on TV.
14 13 education of the students in the class. 14 13 Q. Other than that, do you read about it in any
15 14 BY MR. HARVEY: 15 14 newspapers?
16 15 Q. Is it a concern of you that the mainstream 16 15 A. Yeah.
17 16 scientific community doesn't accept intelligent 9/17 16 Q. Which ones, York Daily |Record?
18 17 design as scientific teaching at all? 18 17 A. York Dispatch. We only have two.
19 18 MR. GILLEN: Objection, foundation. 19 18 Q. Well, you don't read those regularly, correct?
20 19 A. I don't know that that's true, so it's not a 20 19 I mean, you already told me that.
21 20 concern for me. 21 20 A.  Idon't read the letteys to the editor, and I
22 21 BY MR. HARVEY: 22 21 don't pay attention to|what they say about this
23 22 Q.  Imean, you don't recognize that it's true that § (23 22 issue.
24 23 the scientific community doesn't -- the 24 23 Q. Well, you told me you tead the obituaries and
25 24 mainstream scientific community at the very 25 24 the sports page very clearly earlier, correct?
26 25 least does not accept intelligent design as 26 25 A. Yeah. But I didn't say that was all I read.
—— PAGE 106 _..— PAGE 108
1 00105 1 00107
2 1 valid science? 2 1 Q. In any event, you've gpt teachers that are
3 2 MR. GILLEN: Same objection. 3 2 professional science eflucators, and you pay then
4 3 A. What constitutes mainstream? 4 3 money to teach the stuflents, correct?
5 4 BY MR. HARVEY: 5 4 A. That's true.
6 5 Q. I'm just asking you if you have an understanding | 6 5 Q. Why did you disregard [their advice on this?
7 6 on that subject. 7 6 MR. GILLEN: Objection, foundation.
8 7 A. I know there are a lot of scientists that oppose§j) 8 7 A. Twon't say we disregarded it. They didn't want
9 8 some parts of Darwin's theory of evolution, and fj 9 8 to teach it, and they fdon't have to.
10 9 I know there are scientists who support aspects fj |10 9 BY MR. HARVEY:
11 10 of intelligent design. 11 10 Q. Well, they didn't wan it mentioned. Isn't that
12 11 Q. If the teachers didn't want to teach it, why are {12 ll correct?
13 12 you making them mention it? 13 12 A. There were some teachqrs that indicated that
14 13. A. Again, as part of an effort to round out the 14 13 they weren't comfortable with mentioning that.
15 14 scientific education of the students. 15 14 Q. So why did you overruje them, these professional
16 15 Q, IT know that's true, but you're not a 16 15 sclence educators?
17 16 professional science educator, correct? 17 16 A. It's our job as a school board to set the
18 17 A. That's correct. 18 17 curriculum. I won't $ay we overruled them
19 18 Q. You don't know anything really about science. 19 18 because their concern|was that because
20 19 Isn't that correct? 20 19 intelligent design wab in the curriculum that we
21 20 A. I wouldn't say that. 21 20 were forcing them to feach it. We told them
22 21 Q. Well, you know very little about science? 22 21 multiple times no.
23 22 A. 1 know water is HO. 23 22 Q. You were just forcing] them to mention it?
24 23 Q. You don't have any background in science beyond 24 23 A. To acknowledge that that scientific theory does
25 24 what 's-- 25 24 exist.
26 25 A. I'm not a professional. | 26 25 Q. Right. But they were against that, correct?

 

 
 

 

 

 

 

 

 

 

Case 4:04-cv-02688-Jk J DOGIMGALAAT 1/3/5689 09/21/05 Page 6 pf 15
_ SHEET 28 PAGE 109 —— PAGE 111
1 00108 1 00110
2 1 A. Yes, 2 1 A. As I recall, yes.
3 2 Q. Why did you force them to mention it when they 3 2 Q. Do you remember that approximately 11 people
4 3 didn't want to as professional science 4 3 from the public stood "4 and spoke about it?
5 4 educators? 5 4 A. I don't know how many p¢ople. |
6 5 A. As school board-- As a school board, we thought™| 6 5 Q. Do you remember that 10/of them spoke against
7 6 it was in the best interest of the students to 7 6 it?
8 7 do that. § 7 A. No, I don't remember that.
9 8 Q. That's I mean-- I mean, I would hope that would) 9 8 Q. Do you remember anyone speaking for it?
10 9 be true. 10 9 A. Yes.
11 10 A. It is true. 11 10 Q. Who was that?
12 11 Q. But why did you think it was in the best 12 11 A. You know, they come to he podium. They give a
13 12 interest of the students to overrule the 13 12 name. And I know that the people normally that
i4 13 professional science educators? 14 13 come and speak against it are either relatives
15 14. A. I think the science educators were operating out |15 14 or friends of teachers.
16 15 of fear. And, again, we thought it would be in 9/15 15 Q. Why would relatives and friends of teachers
17 16 the best interest of the students and a way to § {17 16 speak against it?
18 7 step towards giving them a fuller scientific 18 17 A. = T don't know,
19 18 education to mention this theory and other 19 18 MR. GILLEN: Objedtion, foundation.
20 19 theories. 20 19 A. ‘Don't know.
21 20 Q. Why do you think the school teachers were 21 20 BY MR. HARVEY:
22 21 operating out of fear? 22 21 Q. Angie Yingling voted fdr the resolution on
23 22 A. I guess they're afraid of the ACLU. I don't 23 22 October 18th, correct?
24 23 know. You have to ask them that. 24 23: A. Yes,
25 24 Q. Did they ever tell you they were afraid? 25 24 Q. Did you know that she Jater stated that she felt
26 25 A. They said they were afraid of being sued. 26 25 pressured to do that because people called her
— es =
— PAGE 110 — PAGE 112
1 00109 1 00111
2 1 Q. What did they say they were afraid of being sued§ | 2 1 an atheist if they didn't support it?
3 2 about? 3 2 A. She never told me that
4 } A. Intelligent design. They were afraid it would 4 3. Q. Did you ever hear that?
5 4 be considered something else. 5 4 A. Not from her.
6 5 Q. But that was all later when they said that they J] 6 5 Q. Did you hear it from anybody?
7 6 were afraid of being sued. Initially they were Bj 7 6 A.  Imight have. 1 think} I did hear it from
8 7 just against teaching it or mentioning it. 8 7 somebody, but I don't know who.
9 8 Isn't that correct? 9 8 Q. Was it true? Did anybody say that to her?
10 9 A. That's not correct. They always had a 10 9 A. Not to my knowledge.
1 10 background of being afraid they'd be sued. ll 10 Q. Did you have any conversations with her about
12 ll Q. Now, was the board meeting on October the 18th 12 11 it?
3 12 taped? 3 12 A. About being an atheist?
14 13 A. Idon't know. As I recall, our normal secretaryy[ |14 13 Q. About pressuring her to support the resolution.
15 14 was out, and someone else was operating the 15 14 A. Did I-- I don't undexstand the question.
16 15 equipment, and I think there was something -- 16 15 Q. Did you have any conversations with Ms. Yingling
7 16 something happened with the taping process. 7 16 about supporting the fesolution?
18 17 That's my recollection. 18 17 A. Yes.
19 18 Q. Do you remember what happened at the meeting 19 18 Q. Tell me about that copversation, everything you
20 19 October 18th? 20 19 can remember.
21 20 A. With regards to? 21 20 A. I just asked her how phe felt about it.
22 21 Q. ‘Intelligent design and the board's resolution. ff [22 21 Q. What did she say?
23 22. A. ‘Did we establish that we passed it then? 23 22 A. She said I'l] support] you a hundred percent.
24 23. Q. ~~ ‘Yes. 24 23. Q. Did you say anything plse to her?
25 24 A. Yeah. 25 24 A. No, not that I recall), I don't know what else If.
26 25 Q. Do you renenber the discussion that took place? J 26 25 would have said.

 

 

 

 

 

 
SHEET
1 00128

 

33

Q.

A,

BY MR. HARVEY:

Q.
A
Q.
A
Q

A.
Q.

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PAGE 129

 

Were you aware whether The Discovery Institute
made a public statement that the -- that they
don't endorse or support what the Dover School
District has done?

MR. GILLEN: Objection, relevance.
I haven't seen it. I've heard it.

Now, if you'll turn to the article of the Daily
Record on the 20th on the third page of that.
Third page. I only have two pages.

The one on October 20th.

Or did I turn two at once?

There are actually two on October 20th. The

 

title is Dover Curriculum Move Likely a First.
Okay.

It says there that -- I'm talking now the sixth
paragraph down -- it says, but the sentence
about intelligent design, referring to the boar
resolution, was added by committee members
Buckingham, Alan Bonsell, and Sheila Harkins at
a meeting not attended by district staff.

How far down?

Sixth paragraph down, but the sentence about
intelligent design was added by.

 

bf 15

 

Has there ever been a

the board when views of
school district have baen not followed?
Say that again, I'm sonry.

Has there ever been a

the school board where

were not followed on a
I'm not involved in so
I can't answer that on
don't know.
I'd like you to-- So,
your knowledge?
I don't know, six, one
Please take a look at
This is the answer to
matter.
Okay.
On Page 2 and 3 it con
the Congressional Reca
Senator Santorum had 1
Do you see that?
Yeah.

Have you ever seen tha
Before when?
Before today.

time when you've been on
the teachers in the

time when you've been on
the views of the teachers
matter?

me of the subcommittees.

¢ way or the other. 1

in other words, not to
half dozen of the other.

Deposition Exhibit 2.
che complaint in this

tains a long quote from —
rd of something that
mserted into the record.

t before?

 

_|

 

 

2 V
3 2
4

5 4
6 5
7 6
8 7
3 8
10 9
ll 10
12 il
3 12
i4 13
15 14
16 ib
17 16
18 17
19 18
20 19
21 20
22 21
23 22
24 23
25 24

 

A.

Q.

Okay, I see that.

Is that true? |

Yes.

Now, I'd like to ask you some questions about
the implementation of the policy of the board
resolution. It's your understanding that--
What's your understanding of how this is going
to be implemented, the board's resolution?

It's my understanding that the teachers are
going to teach Darwin's theory of evolution and
through the course of that teaching or in the
process of that teaching, at some point in time
it will be mentioned to the students that other
scientific theories exist and intelligent design
ig one of those theories, scientific theories.
What if students have questions about
intelligent design, what are they going to be
told?

MR. GILLEN: Objection, foundation.

BY MR. HARVEY:

Q.
A.

Do you know?

They're supposed to take those questions home to
their parents or take them to a pastor at
church. The books that are donated they have
access to those if they want to take one home

26 25 and read it, discuss it with parents, whatever.

 

 

—__. PAGE 131
1 00130
2 1 Q.
3 2
4 3
5 4 4.
6 5 Q.
7 6
8 7
9 8 A.
10 9
il 10
12 11 Q.
13 12
14 13 A,
1b 14 Q.
16 15
1] 16
18 17 A.
19 18 Q.
20 19
21 20
22 21
23 22 A.
24 23. Q.
25 24 A.
26 25 Q.
—— PAGE 132
1 00131
2 1 A.
3 2 Q.
4 3 A,
5 4 Q,
6 5 A.
7 6 Q.
8 7
9 8 A.
10 9 Q.
li 10
12 ll A.
3 12 Q.
14 13
15 14 A.
16 15 Q.
\] 16
18 17 A.
19 18 Q.
20 19 A.
21 20 Q.
22 21
23 22 A.
24 23 Q.
25 24 A.
26 25 Q.

 

I saw it last night.
Before last night, had
No.
Did the board ever dif
Not to my knowledge.
Did the board ever dif
Behind Act?
Oh, yeah.
Did it discuss it infr
curriculum?
No.

Turn to Page 4. Theye
Supreme Court cases.
Okay.

Did the board ever dis
references?

Not to my knowledge.
Did you ever read this
No.

you ever seen it before?
cuss it?

cuss the No Child Left

eference to the biology

'g references to two

cuss either of those

answer before yesterday?

Did you ever see any|parts of it before

yesterday?
No.

Do you know what creationism is?

Yes.

What is creationism [in

your view?

 

 
 

 

 

 

 

 

 

    
 

 

 

 

 

 

 

 

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___ SHEET 34 PAGE 133 —-~ PAGE 135

1 00132 1 00134

2 1 A. In my view? 2 1 personal beliefs in any |respect?

3 2 Q. Or your understanding. 3 2 MR. GILLEN: Objectjion, relevance.

4 3 A. Pretty much the book of Genesis. 4 3 A. It depends on what contgxt it's put in.

5 4 9. That subject has never come up at any school 5 4 BY MR. HARVEY:

6 5 board meeting to your recollection? 6 5 Q. Well, any context.

7 6 A. In what context? 7 6 A. In any context, no, it'$ not inconsistent.

8 7 Q. In any context. 8 7 Q. Do you know who developed the press release

9 8 A. Any context at all? It's been brought up by the} 9 8 that's attached as an exhibit to the answer in
10 9 teachers. 10 9 this matter?
ll 10 Q. When was it brought up by the teachers? 11 10 A. The administration did.) Exactly who it was, I
12 1) A. Different times we talked about intelligent 12 11 don't know, but it came] from the administration.
13 12 design they kept rolling it over into 3 12 Q. Did you have any role ip that?
14 13 creationism. 14 13, «A. ONO.
15 14 Q. Was that at the board meetings? 15 14. Q. Did you review any drafits of it?

16 15 A. Yeah. 16 15 A. No.

7 16 Q. So the teachers mentioned creationism at board §]17 16 Q. I just need to clarify Jone thing from earlier.
18 17 meetings? 18 1] We asked-- I asked you what was your purpose in
19 18 A. Yes. 19 18 supporting the board rqsolution of October 18th.
20 19 Q. What did they say about that? 20 19 Do you remember that?

21 20 A. They were afraid that intelligent design would 9/21 20 A. = Yes.

22 21 be perceived as a back doorway to get 22 21 Q. And you told me some things about having a

23 22 creationism into the curriculum. 23 22 balance between various--

24 23 0. Do you know when that was said, what board Z 23 A, Scientific theories.

25 24 meetings? 25 24 Q. Right. And I'm not sute whether I asked you

26 25 A. It was said on different occasions at different i 26 25 specifically what was Baid by the other board ]
_. PAGE 134 __ PAGE 136

1 00133 1 00135

2 1 board meetings throughout this process. 2 1 members about the purpbse of the resolution or

3 2 Q. Which teachers? 3 2 even if you remember hearing anything about

4 3 AQ Bertha Spahr, Jen Miller. 4 3 that.

5 4 Q. What was said in response to that by any people §| 5 4 A. That was consistent wilth what I said earlier to

6 5 on the board? 6 5 you.

7 6 A, We indicated that it is not our intent to teach 7 6 Q. Do you remember statements made by the board

8 7 creationism. It ig not our intent to teach 8 1 members?

9 8 intelligent design. Our intent is to explain tog} 9 8 A. Absolutely.

10 9 the students that there are other theories, 10 9 Q. Which board members?

il 10 scientific theories, along with Darwin's theory 9 {11 10 A. Alan Bonsell, Sheila Harkins, Heather Geesey,
12 il of evolution. 12 il Janie Cleaver, myself] Noel Wenrich. I guess
13 12 0. Earlier today I asked you about whether the 13 12 that's it.

14 13 theory of evolution was inconsistent with your }— {14 13 Q. And you remember all pf those people speaking up
15 14 personal religious beliefs, and you told me it \Bj15 14 about the purpose?

16 15 was. You don't need to confirm that. Just king§ j16 15 A. Yes, I do.

17 16 of remember - - 17 16 Q. Was that on October 1th?

18 17 A. [think T said it wasn't. 18 17. A.  Twon't say it was on| October 18th. That

19 18 Q. No. You definitely said that the theory of 19 18 happened I would say Within a period of three
20 19 evolution was inconsistent with your personal 20 19 meetings, two eo October the 18th.

21 20 religious beliefs at least to the extent that ig 21 20 Q. It was all, as I understand, a balanced

22 21 taught that life forms were derived from a 22 21 presentation of thesq theories, correct?

23 22 common ancestor. 23 22 MR. GILLEN: Objection to the

24 23 A. Origins of life, yes. 24 23 characterization of the testimony.

25 24 0. Is the theory of intelligent design as you've 25 24 BY MR. HARVEY:

26 25 phrased it, is that inconsistent with your 26 25 Q. Well, I just want tolunderstand.

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ana “46 PAGE 61 3 > PAGE 63
intelligent design stands for? What does it z dictate. “J
teach? if 3 I'm still-- Maybe I'm confused because I had oy
: a Other than what | expressec, that‘s-- a 4 own idea of what it meant because I just glanced,
5 Scientists, 4 lot of scientists-- Don't ask nel 5 at Of Pandas and People. But let me just tell
6 che names. I can't tell you where it came fromm | 6 you a few things that I was under the impression
7 b lot of scientists believe that pack through 7 that intelligent design, some ideas that it
2 time, something, molecules, amoeba, whatever, [M1 8 advanced, and you can tell/me whether you
g evolved into the complexities cf life we have fh} § understand me to be correct or not.
16 now. 14 One, I understood that intelligent design —
u 3. That's the theory of intelligent design? 1l said that life and living things were created or
2 £. You asked me my understanding of it. I'm not ajiz begun by some intelligent fesigner, some
2 scientist. : can't go inte detail and denate 3 intelligent being. Is your understanding?
uf Am 6 No.
is i. | 15 Do you have any understanding like that?
16 is 16 No. Do you suppose we sae soon take a break?
op lea Sure. ~
28 m4 a8 17 (Recess taken)
us fous Wiig 18 BY MR. HARVEY:
20 oR 228 19 Q. Mr. Buckingham, does intelligent design tact |
21 a8. a 2 20 that life like a manufactured object is the
22 a 22 a1 result of intelligent shaging of matter?
24 2 HN 23 I think one-- I think intelligent design
24 23k, 24 expresses an order as oppqsed to the theory of
2 a 25 evolution which talks aboyt chance.
2 \ 2A, HW (2 It expresses an order you|said?
_.. BEGe 62 —— PAGE
2 GOCE i $0952
Z al Q. dust to be clear, we're using theory now in cal z 2 A. Bn orderly process to thiggs.
i game way that you defined it earlier in the 3 2 Q. Who or what directed that|order?
4 3 deposition. 4 3°48. 1 don't know.
5 2 4. Okay. 5 4 Q But my question was, does|intelligent design
é 5 Q. Just refresh my recollection, how did you use é 5 teach that life like a manufactured object is
7 6 the term theory? q 6 the result of intelligent! shaping of matter?
4 7 2. fan you tell me now I defined it? § 78, i don't «now about shaping. 1 think there's an
g § Q. No way she’s going to be able to go back. g g order in intelligent desipm that's not in
if g 2. 1 don't remember what I said. 10 $ evolution. Whether or net it's shaping, 1 don’
i i@ Q. I think you said something about something He 16 know
12 11 that's not proven. i it @. Does intelligert design tkack that life itself
i 2 MR. GILLEN: Something scientifically i? owes 1S Origin fc a master ancellect?
le 13 debatable is what my notes reflect, Stephen. la kh. Ro magter intellect?
75 | 14 A. 1°21 stand by that. 3 G.
LS 15 BY MR. HARVEY: Le By
" 16 9. So when we say-- I'm using it the way you usedj— {17 ie.
18 7 it. So my question is, how is intelligent ig it
3 18 design different from evolution, if at all? 19 16
19 A. ‘They're different theories in that some zi 19
IZ 20 scientists believe that-- We're going back ovey§ jzi ata.
21 the same ground, I think. Some scientists 22 Zig MR
22 believe that it could be tiny amoeba again -- 23 22 &.
23 I'll go back there -- generated a process wherg (24 ai
24 the complexities of life occurred, not as randpmg 25 268, Ho.
| 25 I'll say as what the process of evolution woul 26 25 ¢ Would you want the studedts to.d that
— —-

 
 

 

    

 

   
     
  
  

     

 

 

 

   

 

 

 

 

 

 

 

 

 

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William Buckingham 1/3/2005
—— SHEET 17 PAGE 65 wee PAGE 67
7 OGh: 1 00966
i é i intelligent design locates the origins of new Z 1 please.
3 Z organisms in an immaterial cause, in a 3 2 BY MR. BARVEY:
4 3 blueprint, a plan, a pattern devised by an 4 3. Q. Sure. Would you want the] students taught that
5 4 intelligent agent? 5 4 similarities between orgahisms are explained as
i MR. GILLEN: Objection, calls for 6 5 being due to a common designer?
a : speculation. 7 6B. No.
if 7 Ek | don't even understand what that means. 3 4. Where did the school district board of directors
9 2 BY MR. HARVEY: 5 2 get the idea to include iptelligent design in
1g § Q. Do you want me to read-- i the curriculum?
it 10 A. Is there a way to simplify the question? il MR. GILLEN: Objectilon to the extent the
12 11 Q. Okay, sure. Would you want the students taught 9/12 B question calls hin to angwer for other board
a 12 that intelligent design teaches that new 13 Ee members.
1s 13 organisms were caused by or created in id A. I first heard of it from |the board president,
uB 14 accordance with a plan devised by an intelligent§ |15 F Alan Bonsell.
lg 15 agent? iss 15. BY MR. HARVEY: ——
WG lé &. No. I i 4 When was that? —
ig 17 Q. Does intelligent design teach that various forns When I first came on the board, That would have
ig 18 of life began abruptly through an intelligent been approximately two ydars ago.
ae 19 agency? What did he say about it then?
2. 20 MR, GILLEN: Objection, foundation. I can't give you a quote lon what he said. I i
ce 21 A. Could you repeat the question. just know it was mentiondd.
a 22 BY MR. HARVEY: When is the next time you heard of it?
24 23 Q. Does intelligent design teach that the various I don't know.
Ze forms of life began abruptly through an Well, we know that it made its way into the
intelligent agency? board resolution of Octoher 18, correct?
wee
- PAGE 68
i i 00087
2 1 &. i don't believe so. _t Z a oh. Yes, ™
mT" 2 0. Was that something you would want the students 3 2 Q. Do you know how it got its way into the board
4 3 taught? 4 3 resolution? Where did if first come from?
ly 5 : , calls for 5 ‘AR. | Flrst came-- It was mentioned to me by Alan
( 6 § s Bonsell.
° fb, I don't tains so, 0. 7 6 Q. Then after that, was it ever mentioned again?
¢ 7 ORY MRL BARVEY: a 7A. fT don't know chat it was
3 8 Q. But personally you wouldn't want that, right? § ‘8 Q. Well, you were on the cufriculum committee in
if 9 A. No. 10 9 the summer of 2004?
i 10 Q. mean, in other words, I'm correct? li 10 A Yes,
uz ol A. Yes, 2 11 Q. And the curriculum committee looked at it,
Th: 12. Q. Does intelligent design teach that similarities |i? 12 didn't they?
i 13 between organisms are explained because there 4 13, A I won't say the curricultm committee did. 1
iy te 14 was a common designer as opposed to a common 8 14 did.
i6 15 ancestor? 16 15 Q What did you do to look at it?
co 16 A. I don't believe it says that. i? 16 A I researched through-- [ looked it up on a
ig i7 Q. Would you want students taught that similarities§ j1é 17 computer.
i 18 between organisms are explained as being due to § {15 18 Q Where did you look?
ze 19 a common designer? 20 19 A I probably just put intelligent design, and it
2} 20 MR. GILLEN: Objection, hypothetical and Zi 20 went where it took me. [ couldn't tell you
ee 21 calls for speculation. 22 21 where that was.
23 22 A. So I'm supposed to answer that? 23 22 9 Do you remember what websites you went to?
Z4 23 MR. GILLEN: Yes, 24 23 A No.
ze 24 MR. HARVEY: Yes. 25 24 Q Did you end up talking tb anybody in person
ae 25 4. JT bate to-- Can you say it one more time, 26 25 either -- I mean live over the phone or in
NN CC oa

 
 

 

  

 
  
  
  
   
  

 

 

 

    
 
     
   
 

 

 

 

 

 

   
   
 

 

   

 

     

  
   

 

 

 

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~—- SHEET 22 PAGE 8S —— PAGE 91
(> gog82 1 90068
| Z : versions of that document. One has handwritten §) 2 1 AL No.
| 3 : notes, One does not. “eat 35 does not have thes} 3 2 9. Do you know how many meetings there were? Was
ja : nandwritten notes. Did you see eitrer of them j 3 it two, three, or four oy more?
is just for Stephen's be seit 5 4 hk. Ae least four. The last pne-- jell, there was
ig A. it's possible. To teil you 1 remember specific §| 6 § at least four. __|
i? : paper out of all the papers we see, you know, it} 7 Was it fair to say that te staff didn't want a
8 wouldn't be fair to me or you. g reference to intelligent design?
BS » BY Me, HARVEY: 3 What staff?
ile § Q. So you don't remember seeing this? ig The faculty I mean.
li 10 A. No. il That's true.
12 12 9. Well, at the top it says, recommendations, and ff /12 And that you did want a yeference to intelligent
a 12 it says, students-- It has a recommendation 13 design?
ise 3 apparently from the administration and staff, l4 That's true.
(5 14 one from Mr. Bonsell, one from Casey Brown, and 9/15 Do you remember what Ms. (Brown's view was?
ig 15 one from you. 16 I think she was opposed {jo it.
16 A, Okay. 7 What about Mr. Bonsell, did he want a reference
1? Q. And they all differ slightly. Do you see that? f}[ia to intelligent design or |not?
18 a. Yes. ig He did-- There was a point where he wasn't
a: 19 Q. I want to know if that's your recollection of 26 sure, and there was a pont where he did. I'm
zt 20 what all your various views were. 21 not sure where we are heze.
Zz 21 A. That's my recollection, I just didn't know if I§ 122 Now, so at least at this [point as of October 7th
23 22 saw this paper before, 23 you were the one who wanted intelligent design
ze 23 9, Okay, fine. So you wanted-- Under Number 4, z4 included in the revised qurriculun?
23 24 you wanted something that would say students 25 I was one of the people fhat did. I wasn't the
28 25 will be made aware of other theories of 26 only one.
RAND wet —™
pee PAGE 30 ——-{| PAGE
~ G0be% i
i 1 evolution including, but not limited to, 2 1 Who were the others?
3 2 intelligent design, right? 3 2 &, Shelia Harkins, Janie Clq
4 sob. Prue. 4 3 Was Heather there then.
5 4 Q. Mr. Bonsell according to the handwritten comment§/ 5 4 Geesey was on the board 1
6 5 that's been written in there wanted the same é f ib.
3 6 j 6 Q. I believe she was.
3 : a 1 A. Okay, she wanted it. Angie Yinglina indicated
3 : § 5 she did. Noel Wenrich wanted it. 7 guess
i : ie 5 that's about it
2 Lb BY i 10%. 9 What about Al n Bonse!
it wg. 12 il A, Alan wante
2 lA, 3 g. $0 chats
j4 leg, Welt, cid yee atiend CULT1CuLuE meelings with 14 12 OR,
16 is nell is TC, YOu yu ¢ 1 af October
16 ck, 1é 15 the 1Bth. Do 1 understand that cor
7 Log. 7 i€ 2 No. we're talking abouc| Gcrober
BOOT. igo we?
29 leg, ecto the best of Bis 1@ 9 [
Ze t: 2b ig
2. “foR, Zh zo A §
Zi b. og. represented at those § 122 Z. ¢ Tn oth
é: i z3 22 peopl
es wok. 24 Zi A.  E'm gure Lt was talged about at the board
Z8 ck. esented at all offf j25 Zé meetings.
ze 26 2 as @ Do you remember when? Prior io Gctober the
samen es

 

 

 

 

 
 

 

  
   

 

    
   

 

   

 

 

 

 

 

 

 

 

 

 

 

   
   

   
 

 

 

 

 

 

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SHEET 27 PAGE 105 —— PAGE
fi Ole 1 06106 ———~
A. With limitations and oy approval of the board. 2 1 Q. Are you a very knowledgeable lay person?
3 ay ME. RARVEY: 3 2 8. with regards to what?
4 2 Q. Why did you want them to teach any theories that§| ¢ 3 Q. Science.
5 4 they thought plausible? 5 4 A. Depends on what very ee meals ,
Le : MR. GILLEN: Objection to the 6 5 Q. Do you subscribe to any scientific publications
[0 characterization of his testimony. 3 6 A. NO.
[8 “RF didn't get your question. I'm sorry. g 7 Q. Have you ever?
3 i BY MB. BARVEY: g\\ 8 Bk. No.
je 9 Q, Why did you want the teachers to he able to ig $ Q. Do you follow science developments?
M1 10 teach any theories they thought plausible? 1 10 A. Yes.
(2 il MR. GILLEN: Same objection. 12 li Q. Where?
hy 12 2. In an effort to round out the scientific uu 12 4. ‘Discovery channel, thingd like that on TV.
fis 13 education of the students in the class. ig 13. Q. Other than that, do you nead about it in any /
is 14 BY MR. BARVEY: 5 14 newspapers? ’
vs 15 ¢. Is it a concern of you that the mainstream 15 15 A. Yeah. + /
4 16 scientific community doesn't accept intelligent $117 Q. Which ones, York Daily Record?
is 17 design as scientific teaching at all? 18 17 A. York Dispatch. We only Have two.
13 18 MR. GILLEN: Objection, foundation. i 18 Q. Well, you don't read thoge regularly, correct?
ze 19 A. I don't know that that's true, so it's not a 26 13 I mean, you already told ime that.
i] a6 concern for me. 2) 20 A, J don't read the letters |to the editor, and I
22 21 BY MR. HARVEY: 22 al don't pay attention to wHat they say about this
23 22 9. ‘I mean, you don't recognize that it's true that §{2: 22 issue.
Zé 23 the scientific commmity doesn't -- the 24 23,9. «Well, you told me you read the obituaries and
zs 24 mainstream scientific commmity at the very 25 24 the sports page very cledrly earlier, correct?
26 25 least does not accept intelligent design as 26 25 A. Yeah. But I didn't say that was all I read,
ea "OT om
~~ PAGE 108
t 1 09197
2 1 valid science? q 1 Q. ‘In any event, you've got teachers that are
3 : MR. GILLEN: Same objection. 3 2 professional science edu¢ators, and you pay thea
3 2k, Wat maLnstream? 4 3 money to teach the studegts, correct?
5 +BY HARV 5 4B, That's true.
6 5 Q é AW Q. Why did you disregard their advice on this?
3 6 on that subject. 7 é MP. GILLEN: Cbrection, foundation.
é. 7 know there are a lot of scientists that opposes| & POR, ] won't say we disrecardéc it. They didn’: want
: parts of Darwin's theor of evolution, and fj ¢ a to teach it, and they dog’: have to.
3 entists a aspects BUiC ¢ BY ME. HARVEY:
- il ig g. Well, they didn't want i] mentioned. Isn't th
nly: 12 ie ( to:
ae ij 12a. here 3 some teach that indicated that
ie fi ok is 3 they # L comitor: With mentiogine
ib id 15 a4 0G. 14 you overrule them, these oroi
ie is g, 16 15 science educators?
7 1 17 lé 2, it's our ich as a school |board tc ser the
us 78 18 7 curriculum. 1 won't say|we overruled then
33 anf, 49 16 because their concern wag that bec
ze . 26 1S inteliigent design was im the curr: that we
i eo Od. 2) Zu ( ing them to t rit. We told ther
22 fg, about science? 22 22 multiple times ac
23 eed. 23 22 9. You were just forcing thbm to mention it?
zd ag. ma in science beyond 9} |2é 23 4. To acknowledge that trat|scieatific theory does
25 2s 25 26 exist.
26 26 OG. 26 zo%. Bight. But they were agkinst that, correct?
( TTT LL
OO .
x 7

 
 

 

 
       
   
     
    
     
   
      
     
   
   
   
       
     
       
       

 

  

 

  

 

     
 

 

 

 

 
 
 
 
 

 

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William Buckingham 1/3/2005
—— SHEET 26 PAGE i909 —— PAGE 111
2 Gilt
Yes, 2 2 A. &s I recall, yes.
Why did you force them to mention it when they 3 2 Do you remember that approximately 11 people
didn't want to as professional science 4 3 from the public stood up|and spoke about it?
S educators? 5 42. I don't know how many peppie.
6 h.  AS schocl board-- As a school beard, we thought! é 5 Q. Do you remember that 10 f them spoke against
7 it was in the best interest of the students to 7 & it?
8 , do that. f 7 AL No, I don't remember thay.
3 8 Q. That's I mean-- I mean, I would hope that wogldi § 8 Q. Do you remember anyone speaking for it?
Li § be true. 13 $ A. Yes.
Le 0 A, It is true. i 10 Q. Who was that?
12 11 Q. But why did you think it was in the best 12 li A. You know, they come to the podium. They give a
i3 22 interest of the students to overrule the 13 12 name. And I know that the people normally that
4 13 professional science educators? 4 2B come and speak against if are either relatives
8 14. A. I think the science educators were operating out [15 14 or friends of teachers.
ie 15 of fear. And, again, we thought it would be in fb lié 15 Q. Why would relatives and friends of teachers
3 16 the best interest of the students and a way to (837 16 speak against it?
if Vy step towards giving them a fuller scientific 13 7A T don't know,
aS ig education to mention this theory and other 1§ 18 MR. GILLEN: Objection, foundation.
ao 19 theories. 20 19 4. = ‘Don't know,
2h 2¢ Q. Why do you think the school teachers were ai 20 BY MR. HARVEY:
22 21 operating out of fear? 22 21 Q. Angie Yingling voted for|/the resolution on
2 22 &. I guess they're afraid of the ACLU. I don't 23 22 October 18th, correct?
24 23 know. You have to ask them that. 24 23,4.) Yes.
25 24 Q. Did they ever tell you they were afraid? 25 24° Q. Did you know that she later stated that she felt
26 25 4, ‘They said they were afraid of being sued. 26 25 pressured to do that because people called her |
—— —-— PAGE 1732
: 1 $0241
2 What did they say they were afraid of being sue 2 1 an atheist if they didn't support it?
3 about? 3 2 8. She never toid me that.
3 ) aL Intelligent desigs A 3 Q. Did you ever hear that?
5 : ce considered something else. 5 4 A. Net from her.
é 5 Q. But that was all later when they said that they/—}/ 6 5 Q. Did you hear it from anybody?
7 6 were afraid of being sued. Initially they werel | 7 é A.  fmight have. [ think I{did hear it from,
§ 7 just against teaching it or mentioning it. 8 7 somebody, but I don't knw who.
9 8 Isn't that correct? $ 8 Q. Was it true? Did anybody say that to her?
if 5 A. That's not correct. They always had a 1a 9 A. Not to my knowledge.
it 0 background of being afraid they'd be sued. ll 10 9. Did you have any conversations with her about
12 Q. Now, was the board meeting on October the 18th 9117 i} it?
GB 12 taped? ii 12 4. About being an atheist?
id 13, A. I don't know. As I recall, our normal secretaryf (1d 13° Q About pressuring her to bupport the resolution.
LE 14 was out, and someone else was operating the 15 14a Did I-- I don't understand the question.
26 15 equipment, and I think there was something -- ie 15 Q Did you have any conversations with Ms. Yingling
16 something happened with the taping process. 1? 16 about supporting the resplution?
18 i That's my recollection. lf 17 A Yes.
13 18 Q. Do you remember what happened at the meeting 19 18 Q. Tell me about that convefsation, everything you
Ze 19 October 18th? 428 13 can remember.
Zi 20 A. «With regards to? Zi 20 sA. I just asked her how she|felt about it.
22 21 Q. Intelligent design and the board's resolution. 22 21 Q. What did she say?
Z 22 A. Did we establish that we passed it then? 23 22 A. She said I'll support yop a hundred percent.
zs 23.9. ~~ Yes. 24 23. Did you say anything elst to her?
ac 24 A. Yeah. 25 24 4. =-No, not that I recall. [ don't know what else I
Q. Do you remember the discussion that took place? 9 |2¢ 25 would have said.

 

 

 

 

 

    

 

 
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—- SHEET 33 PAGE 129 w— PAGE 131

1 (GER 1 d013¢

Z 1 9. Were you aware whether The Discovery Institute Z 1 Q. Has there ever been a tize when you've been on

3 2 made a public statement that the -- that they 3 2 the board when views of [he teachers in the
i 4 3 don't endorse or support what the Dover School j 3 school district have beeh not followed?

5 4 District has done? 5 £8, Say that again, i'm sorrp

E £ MR. GILLEN: Objection, relevance, § 5 Q. Has there ever been a tie when you've been on

5 PoR I haven't seen it. I've heard it 7 6 the school board where the views of the teachers}
ig vOMR g 7 were not followed on a matter?

5 Now, if ‘you'll turn to the article of the Daily|—}| 9 8 2. I'm net involved in somelof the subcommittees.
if Record on the 20th on the third page of that. ig g 1 can't answer that one way or the cther. 1
i Third page. I only bave two pages. i 10 don’: know.
le The one on October 20th. 12 ii @ U'd like you to-- So, if other words, not to
3 Or did I turn two at once? 13 12 your knowledge?

i There are actually two on October 20th. The 14 134, 1 don’t know, Six,
45 title is Dover Curriculum Move Likely a First. (—}/i5 14 9. = Please take a loox
i Okay. 16 15 This is the answer
i It says there that -- I'm talking now the sixth]§ {27 16 matrer
ie paragraph down -- it says, but the sentence 18 lik Okay
3 about intelligent design, referring to the board™ |:5 1b g On Page 2 and 3 it contapns a ione quote from
Zu resolution, was added by committee members ao 13 the Congressional Recordlc? something that
Zi Buckingham, Alan Bonsell, and Sheila Harkins at jf j2! 20 Senator Santorum fac inserted inte the record
22 a meeting not attended by district staff. 22 zi DO you see that?
2 How far down? 2 27 4. Yeah.
24 Sixth paragraph down, but the sentence about Zé zi 0. Have you ever seen thar pefore?
25 intelligent design was added by. a5 244. Before when?
Zé Okay, I see that. 26 25 9. Before today.
— PAGE 13¢ -— PAGE 132
Is that true? 2 1 & = Saw it last night.
yes. 3 2 Q.  Refore last night, had ypu ever seen it before?
Now, I'd like to ask you some questions about 4 3°28. No.
the implementation of the policy of the board 5 4 Q Did the board ever discuss it?
resolution. It's your understanding that-- é 5 A. Not to my knowledge.
What's your understanding of how this is going 7 6 Q. Did the board ever discuss the No Child Left
to be implemented, the board's resolution? _ 8) 4 7 Behind Act?
it's ty understanding that ee teachers are § 8 A. Oh, yeah.
i evolution and fil) 9 Q. Did it discuss it in reference to the biology
Lo : ng or in the il 10 curriculum?
ie Le me poinc in time Bjlz 11 (4. No.
i Le t mentioned tc che students that other FFL? 12 Q. Turn to Page 4. There's references to two
li i: theories exist and intelligent desianf{l4 3 Supreme Court cases.
15 ls theories, scientific theories. 15 MA. Okay.
Le Leg. ave questions about 16 15 Q. Did the board ever discuss either of those
° LE nh, what are taey going to be Vy 16 references?
28 7 LE 17 «A. Not to ny knowledge.
is LE Gajecticn, foundacion. 1g 18 Q. Did you ever read this answer before yesterday?
zu a: ORY 2u 9A. No.
Zi ze gf. 21 20 Q. Did you ever see any parts of it before
dz 2: a. 22 ai yesterday?
i fo 230022 LN.
ioe Ee 26 23 Q. Do you know what creatiqnism is?
ai po 2s access to taese 2 oi want £0 Lake one ho: 2 «4 AY.
ge f 2: anc reac it, discuss it with parents, whatever. (26 25 Q. What is creationism in ypur_view?
aan ae

 

 

 

 
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w~— SHEET 34 PAGE i133 Ts PA bite 135
| 2 in my view? a A personal beliefs in any fespect? “|
14 Or your indarstanting } g MR. GILLEN: Cbiectjon, relevance.
4 Pretty muck the book of Gene A ‘3A, — It depends on weat context it's out in
is That subject has never come up at any school 5 4 BY MR. HARVEY:
i board meeting to your recollection? § ‘5 Q. Well, any context.
7 A. In wkak context? } 6 A. In-any context, no, ic's|nct inconsiscent.
§ 7 Q. In any context. § 7 §. Do you know who developed the press release
5 ‘ 2. Any concext at all? it's been brought up by theb| 9 8 that's attached as an exhibit to the answer in
(AC reachers. 1g 3 this matter?
[L Le O, vinen was 1t Drought up by the teachers? li 1@ A. The administration did. |Exactly who it was, I
(12 i. A. Giflerent times we talked about intelligent 12 ll don't know, but it came from the administration.
3 Le design they xept rolling it over inte id 12.9. Did you have any role in| that?
is l: creationism, ld aoa. No.
13 if G. 9 Wag taat at the board meetings? 5 14 Q. ‘Did you review any drafts of it?
16 30k. Yeah 16 . No, —
i} g.  $o the teachers mentioned creationism at 4 16 ¢. I just need to clarify oe thing from earlier.
& nest ings? 38 1] We asked-- I asked you phat was your purpose in
13 A. Yes, i$ 18 supporting the board resolution of October 18th.
26 G.  Waat did they say about taat? 26 9 Do you remember that?
Zh A Tney were afraid that intelligent design wou ai A. Yes.
Ze be perceived as a back doorway to get 22 Q. And you told me some thiggs about having a
ai tionism into the curricular. 23 balance between various-
24 é. i 24 4. Scientific theories.
z5 25 24 Q. Right. And I'm not sure/whether I asked you
28 Zé 25 specifically what was sald by the other board
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1 \OG235
board meetings througnout Chis process. Z 1 members about the purpose of the resolution or
Which teachers? 2 2 even if you remember heating anything about
Bh, Berta Spahr, Jen Miller. 4 3 that.
. What was said in response to that by any people fi 5 4 h. Tha was consistent with|what 1 said earlier to
on the board? 6 5 YOu.
We indicated that it is not our intent te t 7 § Q. Do you remember statements made by the board
creationism. ft is not our intent te teac! 7 members?
: ee design. Gur intent is Lo exo! g é A. Absolutely.
3 1G § Q. Which board members?
ii i il 10 A. Alan Bonseli, Sheila Harkins, Heather Geesey,
id i: i 12 ll Janie Cleaver, myself, Npel Wenrich. I guess
13 kf today 1 asked you about whevher the 3 2 that's it.
ie BR f th your |p}i4 13 Q. And you remember all of fhose people speaking up
18 4 me it WIS 14 about the purpose?
le i st Kinds 16 15 A. Yes, I do.
1 is i 16 Q. Was that on October 18th
ie oR 18 17 A. = T won't say it was on October 18th. That
is le G. Ne o 18 18 happened I would say within a period of three
Zb Lb av t 20 19 meetings, two before and|Qctober the 18th.
2. Zi re t Ly21 20d. It was all, as I understand, a balanced
22 2. tat were az 21 presentation of these theories, correct
z 2 c 23 MR. GILLEN: Objection to the (2
z4 2k a Z4 23 characterization of the testimony.
25 2g. wf E8 Ne 25 24 BY MR. HARVEY:
Zs 2b phrased it, Zé 25 Q. Well, I just want to understand.

 

 

 

   

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